 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 1 of 42 PageID #:4445




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION




FEDERAL TRADE COMMISSION                  C.A. No. 1:23-cv-03053

STATE OF CALIFORNIA                       REDACTED – PUBLIC VERSION

STATE OF ILLINOIS

STATE OF MINNESOTA

STATE OF NEW YORK

STATE OF WASHINGTON

 and

STATE OF WISCONSIN,

                         Plaintiffs,

              v.

AMGEN INC.

and

HORIZON THERAPEUTICS PLC,

                         Defendants.



                   PLAINTIFFS’ MEMORANDUM OF LAW
       IN SUPPORT OF THEIR MOTION FOR A PRELIMINARY INJUNCTION
      Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 2 of 42 PageID #:4446




                                                       TABLE OF CONTENTS

LEGAL STANDARDS .................................................................................................................. 2
STATEMENT OF FACTS ............................................................................................................. 4
I.         Prescription Drug Coverage and Reimbursement.................................................................. 4
II.        Amgen’s Broad Product Portfolio ......................................................................................... 6
III.       Horizon’s Drug Monopolies .................................................................................................. 7
IV. The Proposed Merger ............................................................................................................. 8
ARGUMENT .................................................................................................................................. 8
I.         The Commission is Likely to Succeed on the Merits ............................................................ 8
      A.     The Proposed Merger May Substantially Lessen Competition or Tend to Create a
             Monopoly in the TED and CRG Markets ......................................................................... 10
                 1. The Relevant Product Markets Are the Sale of FDA-Approved Drugs to Treat TED
                    and CRG................................................................................................................... 10
                        a. The Sale of FDA-Approved Drugs to Treat TED is a Relevant Product Market.
                           .......................................................................................................................... 11
                        b. The Sale of FDA-Approved Drugs to Treat CRG is a Relevant Product Market
                           .......................................................................................................................... 14
                 2. The United States Is the Relevant Geographic Market ............................................ 16
                 3. There is a Reasonable Probability the Proposed Merger Will Substantially Lessen
                    Competition or Tend to Create a Monopoly ............................................................ 16
                       a. Amgen Will Have the Ability and Incentive to Foreclose TED and CRG Rivals
                          Post-Merger........................................................................................................ 17
                                i. Ability to Leverage its Drug Portfolio .................................................... 17
                                ii. Incentive to Protect its Monopolies ......................................................... 22
                       b. The Proposed Merger Has a Reasonable Probability of Extending or
                          Entrenching Tepezza’s and Krystexxa’s Monopoly Positions .......................... 26
      B.     Defendants Cannot Rebut the Strong Prima Facie Case .................................................. 29
II.        The Equities Favor a Preliminary Injunction ....................................................................... 34
CONCLUSION ............................................................................................................................. 35




                                                                           ii
   Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 3 of 42 PageID #:4447




                                            TABLE OF AUTHORITIES
Cases

Alfred L. Snapp Son, Inc. v. Puerto Rico, 458 U.S. 592 (1982) ..................................................... 3
Allis-Chalmers Mfg. Co. v. White Consol. Indus., Inc., 414 F.2d 506 (3d Cir. 1969) ............ 27, 28
Beatrice Foods Co. v. FTC, 540 F.2d 303 (7th Cir. 1976) ........................................................... 11
Brown Shoe Co. v. United States, 370 U.S. 294 (1962) ............................................... 8, 10, 11, 16
California v. Am. Stores Co., 495 U.S. 271 (1990) ...................................................................... 33
Chicago Bridge & Iron Co. NV v. FTC, 534 F.3d 410 (5th Cir. 2008) ........................................ 29
Ekco Products Co. v. FTC, 347 F.2d 745 (7th Cir. 1965) ...................................................... 27, 28
Fruehauf Corp. v. FTC, 603 F.2d 345 (2d Cir. 1979) .................................................................. 29
FTC v. Actavis, Inc., 570 U.S. 136 (2013) ...................................................................................... 1
FTC v. Advoc. Health Care Network, 841 F.3d 460 (7th Cir. 2016) ............................ 9, 11, 14, 16
FTC v. Advoc. Health Care, No. 15 11473, 2017 WL 1022015 (N.D. Ill. Mar. 16, 2017) ... passim
FTC v. CCC Holdings, Inc., 605 F. Supp. 2d 26 (D.D.C. 2009) .................................................. 10
FTC v. Consol. Foods Corp., 380 U.S. 592 (1965) ...................................................................... 28
FTC v. Elders Grain, Inc., 868 F.2d 901 (7th Cir. 1989) ...................................................... passim
FTC v. Freeman Hosp., 69 F.3d 260 (8th Cir. 1995) ..................................................................... 3
FTC v. H.J. Heinz Co., 246 F.3d 708 (D.C. Cir. 2001) .................................................. 4, 9, 10, 34
FTC v. Hackensack Meridian Health, Inc., 30 F.4th 160 (3d Cir. 2022) ..................................... 11
FTC v. Illinois Cereal Mills, Inc., 691 F. Supp. 1131 (N. D. Ill. 1988) ....................................... 35
FTC v. Lifewatch Inc., 176 F. Supp. 3d 757 (N.D. Ill. 2016) ....................................................... 34
FTC v. OSF Healthcare Sys., 852 F. Supp. 2d 1069 (N.D. Ill. 2012) .............................. 3, 8, 9, 29
FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865 (E.D. Mo. 2020) .......................................... 3
FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327 (3d Cir. 2016) ..................................... 11, 32
FTC v. Procter & Gamble Co., 386 U.S. 568 (1967) ............................................................ passim
FTC v. ProMedica Health Sys., Inc., 2011 WL 1219281 (N.D. Ohio Mar. 29, 2011) ................. 34
FTC v. Rhinechem Corp., 459 F. Supp. 785 (N.D. Ill. 1978) ..................................................... 3, 4
FTC v. Shkreli, 581 F. Supp. 3d 579 (S.D.N.Y. 2022) ................................................................. 11
FTC v. Staples, Inc., 190 F. Supp. 3d 100 (D.D.C. 2016) ............................................................ 33
FTC v. Sysco Corp., 113 F. Supp. 3d 1 (D.D.C. 2015)............................................................. 3, 33
FTC v. Warner Commc’ns, Inc., 742 F.2d 1156 (9th Cir. 1984) .......................................... 3, 9, 29
FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028 (D.C. Cir. 2008) ................................................ 34


                                                               iii
   Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 4 of 42 PageID #:4448




FTC v. World Travel Vacation Brokers, Inc., 861 F.2d 1020 (7th Cir. 1988).......................... 3, 35
General Foods Corp. v. FTC, 386 F.2d 936 (3d Cir. 1967) ................................................... 27, 28
Hosp. Corp. of Am. v. FTC, 807 F.2d 1381 (7th Cir. 1986) ........................................................... 9
In re Illumina, Inc., FTC Docket No. 9401 (Mar. 31, 2023) ................................................. passim
In re Otto Bock, FTC Docket No. 9378 (Nov. 1, 2019) ............................................................... 33
In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig.,
   No. 13-MD-2445, 2017 WL 4910673 (E.D. Pa. Oct. 30, 2017)............................................... 11
Procter & Gamble Co., 63 F.T.C. 1465 (1963), aff’d, 386 U.S. 568 (1967) ............................... 28
ProMedica Health Sys., Inc. v. FTC, 749 F.3d 559 (6th Cir. 2014) ............................................. 33
Regeneron Pharms., Inc. v. Amgen Inc., 1:22-cv-00697-UNA (D. Del. May 27, 2022) ............. 19
Regeneron Pharms., Inc. v. Amgen Inc., No. 22-697-RGA, 2023 WL 2587809
  (D. Del. Mar. 21, 2023)............................................................................................................. 20
Saint Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775
  (9th Cir. 2015)..................................................................................................................... 33, 34
Steves and Sons, Inc. v. JELD-WEN, Inc. 988 F.3d 690 (4th Cir. 2021) ...................................... 33
United States v. Aetna, Inc., 240 F. Supp. 3d 1 (D.D.C. 2017) .................................................... 33
United States v. Aluminum Co. of Am., 377 U.S. 271 (1964) ....................................................... 27
United States v. AT&T, Inc., 310 F. Supp. 3d 161 (D.D.C. 2018)................................................ 17
United States v. AT&T, Inc., 916 F.3d 1029 (D.C. Cir. 2019)........................................................ 9
United States v. First Nat’l State Bancorp., 499 F. Supp 793 (D.N.J. 1980) ......................... 28, 29
United States v. General Dynamics Corp., 415 U.S. 486 (1974) ................................................. 27
United States v. Philadelphia Nat’l Bank, 374 U.S. 321 (1963) .................................................. 29
United States v. Wilson Sporting Goods Co., 288 F. Supp. 543 (N.D. Ill. 1968) ............... 9, 27, 28
Statutes

15 U.S.C. § 18 ............................................................................................................................. 2, 8
15 U.S.C. § 26 ................................................................................................................................. 2
15 U.S.C. § 45 ................................................................................................................................. 2
15 U.S.C. § 53(b) ............................................................................................................................ 2
16 CFR § 3.4 ................................................................................................................................... 9
Other Authorities

Shreya Ashish Shah et al., Comparison of treatment cost and quality-of-life impact of thyroid eye
  disease therapies, 63 INVESTIGATIVE OPHTHALMOLOGY & VISUAL SCI. 4002 (2022)............. 13



                                                                       iv
   Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 5 of 42 PageID #:4449




U.S. Dep’t of Justice & FTC, Horizontal Merger Guidelines (2010) (“Horizontal Merger
  Guidelines”) .............................................................................................................................. 14




                                                                       v
  Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 6 of 42 PageID #:4450




       Pharmaceutical manufacturers will do whatever they can to extend the lifetime of their

monopoly products. See, e.g., FTC v. Actavis, Inc., 570 U.S. 136, 141-42, 144-45 (2013)

(describing an anticompetitive scheme by which a branded pharmaceutical manufacturer paid over

$250 million to would-be competitors in return for their agreement to delay launch of competing

generic drugs). Once a drug’s monopoly erodes and new competitors enter the market, profitability

will diminish as competition drives prices lower. Although increased treatment options and lower

prices would greatly benefit patients, for pharmaceutical manufacturers such as Amgen, this

phenomenon provides an incentive to protect its monopoly profits.

       Amgen Inc. proposes to acquire Horizon Therapeutics plc in a transaction valued at

approximately $27.8 billion (the “Proposed Merger”). The Proposed Merger’s value is primarily

tied to reaping profits from a pair of Horizon’s highly lucrative monopoly drugs. Facing impending

competition, post-merger, Amgen will have every incentive to preserve these monopolies to

maximize the return on its $27.8 billion investment. In seeking to stifle competition, Amgen will

most likely turn to the strategy it already employs—leveraging its existing drug portfolio to

entrench the monopoly positions of the drugs acquired through the Proposed Merger. As a result,

the Proposed Merger may substantially lessen competition and tend to preserve monopolies for

Amgen in two critical markets, the sale of FDA-approved drugs to treat thyroid eye disease

(“TED”) and chronic refractory gout (“CRG”). Lack of competition in these markets will reduce

patients’ access to drugs that might provide the best treatment, in favor of the merged firm’s

entrenched monopoly drugs, as well as insulate the merged firm’s drugs from price competition.

       The Federal Trade Commission (“Commission”) issued an administrative complaint on

June 22, 2023. The issue before the Court is the Commission’s and the Plaintiff States’

(collectively, “Plaintiffs”) request that it preliminarily enjoin Defendants from completing the



                                                1
  Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 7 of 42 PageID #:4451




Proposed Merger pending administrative adjudication of that complaint. Absent a preliminary

injunction, Defendants can close their Proposed Merger before the administrative proceeding

concludes. Pursuant to a Stipulated Order, Defendants have agreed to defer consummation of the

Proposed Merger only until October 31, 2023 or two business days after a ruling by this Court on

the FTC’s motion. Stipulated Order at 2, ECF No. 60. Closing the Proposed Merger prior to full

administrative review would harm competition and deprive the Plaintiffs of the ability to obtain

relief. To preserve the status quo, the Plaintiffs respectfully request that the Court enter a

preliminary injunction, under 15 U.S.C. § 53(b), to prevent Defendants from merging until the

Commission can adjudicate the Proposed Merger’s legality.

                                     LEGAL STANDARDS

       Section 7 of the Clayton Act prohibits mergers that “may” substantially lessen competition

or “tend to” create a monopoly in any line of commerce. 15 U.S.C. § 18; FTC v. Elders Grain,

Inc., 868 F.2d 901, 902 (7th Cir. 1989) (“Section 7 forbids corporate acquisitions that may lessen

competition substantially or tend to create a monopoly.”) (emphasis added). The Commission

found “reason to believe” that the Proposed Merger may have such anticompetitive effects, and

thus commenced an administrative proceeding to determine whether the Proposed Merger violates

Section 7 of the Clayton Act and Section 5 of the FTC Act, 15 U.S.C. §§ 18, 45. Section 13(b) of

the FTC Act enables the Commission to seek to preserve the status quo in this situation and

authorizes the Court to issue a preliminary injunction pending administrative adjudication of the

Proposed Merger’s legality. 15 U.S.C. § 53(b); Elders Grain, 868 F.2d at 902. Section 16 of the

Clayton Act enables the State Plaintiffs to bring this action on behalf of each respective State. 15

U.S.C. § 26.

       When the Commission seeks to preserve the status quo pending administrative review of a

merger challenge, the FTC need not present “detailed evidence of anticompetitive effect at this
                                                 2
  Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 8 of 42 PageID #:4452




preliminary phase,” and the Court should grant preliminary relief where the FTC “raise[s]

substantial doubts about a transaction.” FTC v. Advoc. Health Care, No. 15 11473, 2017 WL

1022015, at *2 (N.D. Ill. Mar. 16, 2017) (quoting FTC v. OSF Healthcare Sys., 852 F. Supp. 2d

1069, 1074 (N.D. Ill. 2012)); see also FTC v. Rhinechem Corp., 459 F. Supp. 785, 789 (N.D. Ill.

1978) (citation omitted); FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 883 (E.D. Mo. 2020)

(quoting FTC v. Freeman Hosp., 69 F.3d 260, 267 (8th Cir. 1995)). “A certainty, even a high

probability [of anticompetitive effect], need not be shown . . . and doubts are to be resolved against

the transaction.” Elders Grain, 868 F.2d at 906. If the FTC raises such doubts, the Court should

grant injunctive relief “where such action would be in the public interest,” as determined by

“weighing the equities.” Id. at 902.

       When weighing the equities, private considerations must give way to public concerns

because “[t]he public has strong interests in the effective enforcement of the antitrust laws and in

preserving [the FTC’s] ability to order effective relief if it succeeds after a trial on the merits.”

Advoc. Health Care, 2017 WL 1022015 at *16 (quoting FTC v. Sysco Corp., 113 F. Supp. 3d 1,

61, 86 (D.D.C. 2015)). States, likewise, have a parens patriae interest in the economic welfare of

their residents and in participating in a fair and competitive economy. See Alfred L. Snapp Son,

Inc. v. Puerto Rico, 458 U.S. 592, 605-08 (1982). Thus, while private equities may be considered,

“public equities must receive far greater weight.” FTC v. World Travel Vacation Brokers, Inc.,

861 F.2d 1020, 1030 (7th Cir. 1988) (quoting FTC v. Warner Commc’ns, Inc., 742 F.2d 1156,

1165 (9th Cir. 1984)); see also Elders Grain, 868 F.2d at 903 (“[A] countershowing of private

equities alone would not suffice to justify denial of a preliminary injunction barring the merger.”)

(citation omitted).

       Here, the only potential harm to private interests is delaying Defendants’ ability to close



                                                  3
     Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 9 of 42 PageID #:4453




the Proposed Merger until the Commission can adjudicate the Proposed Merger’s legality. In

contrast, public interests would permanently and irreparably suffer if Amgen and Horizon merged

sooner. Competition would be injured, and the status quo, in which Defendants are separate, would

be extremely difficult—if not impossible—to restore. As the Seventh Circuit has recognized, “[i]f

the acquisition seems anticompetitive, then failing to stop it during the administrative proceedings

will deprive consumers and suppliers of the benefits of competition pendente lite and perhaps

forever, for it is difficult to undo a merger years after it has been consummated.” Elders Grain,

868 F.2d at 904; see also id. at 905 (stating that the “effects [of an anticompetitive merger] will be

magnified if the acquisition is allowed to go forward during the period of administrative challenge,

especially if that period is so protracted as to defeat the prospects for effective divestiture at the

end”); Rhinechem Corp., 459 F. Supp. at 787 (Section 13(b)’s “unique ‘public interest’ standard”

reflects Congress’s recognition of the difficulty of “effectuat[ing] a remedy once an acquisition is

consummated”) (internal citations omitted); FTC v. H.J. Heinz Co., 246 F.3d 708, 727 (D.C. Cir.

2001) (“If the merger is ultimately found to violate section 7 of the Clayton Act, it will be too late

to preserve competition if no preliminary injunction has issued.”). Accordingly, the Court should

issue a preliminary injunction to prevent Defendants from consummating the Proposed Merger

pending administrative adjudication of the Proposed Merger’s legality.

                                    STATEMENT OF FACTS

I.     Prescription Drug Coverage and Reimbursement

         Most individuals in the United States have insurance that covers some or all of the cost of

prescription medications. Insurance coverage is provided by plan sponsors, which are often

employers. Plan sponsors generally either pay a commercial health insurer to bear the financial

risk of insurance claims, or else bear the financial risk themselves. Payers—commercial health

insurers or the government—“bear the cost of the prescribed drug.” PX9000, Expert Report of Dr.

                                                  4
  Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 10 of 42 PageID #:4454




Aaron Kesselheim (July 7, 2023) (“Kesselheim Report”) ¶ 46. Drugs dispensed by retail

pharmacies are covered under payers’ pharmacy benefits, which are typically negotiated and

managed by pharmacy benefit managers (“PBMs”) on behalf of the payers; drugs injected or

infused by a healthcare professional in an outpatient setting typically are covered under payers’

medical benefits. PX9000 (Kesselheim Report) ¶¶ 24, 55, 183. These medical benefit policies are

either negotiated directly by payers or by medical benefit managers on behalf of the payers.

PX9000 (Kesselheim Report) ¶ 183;


■ However, “the lines between pharmacy benefit and medical benefit have increasingly blurred
in recent years as payors and PBMs integrate operations.” PX9000 (Kesselheim Report) ¶ 24.

       For large drug manufacturers like Amgen, a core component of their business model is to

increase sales or expand market share such that its drugs will be used by as many providers and

patients as possible. One common method to increase sales or gain market share is through

negotiations over prescription drug coverage. Payers use formularies, medical benefit policies, and

a number of other tools to set out which prescription medications they will cover on behalf of their

members, which in turn influences drug utilization (i.e., which prescription medications providers

and patients are likely to use). Drugs with broader payer coverage allow for greater utilization by

both providers and patients, which translates into increased sales and expanded market share.

       Drug manufacturers, including Amgen, frequently offer rebates and other inducements that

influence payers’ formularies and benefit policies, and thus




                                                     When drug manufacturers face competition for

a particular treatment, payers—or intermediaries such as PBMs and medical benefit managers



                                                 5
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 11 of 42 PageID #:4455




negotiating on the payers’ behalf—can play competing manufacturers off one another, negotiating

for higher rebates in exchange for more preferential coverage decisions.

       Some drug manufacturers, including Amgen, also use rebates to evade direct competition

on the merits through the use of cross-market bundling. Cross-market bundling involves

conditioning rebates on one product in exchange for preferred coverage on other products. Rather

than directly competing on the merits to provide more affordable or higher quality treatments for

a given condition, cross-market bundling allows manufacturers to leverage the strength of their

broader portfolio to prop up unrelated products. Such multi-product deals undermine competition

by distorting how PBMs and payers make decisions about which drugs to make available to

patients. To illustrate, Amgen will negotiate significant rebates on
                                                                       -   —which can amount to

                 of dollars in payments to payers, PBMs, health plans, and plan sponsors—in

exchange for exclusive or preferred placement for Amgen’s other drugs. Amgen’s ordinary course

documents acknowledge this, stating,




II.   Amgen’s Broad Product Portfolio

       Amgen has a diverse portfolio of both pharmacy benefit and medical benefit products that

includes 27 U.S. Food and Drug Administration (“FDA”)-approved medicines. PX0009 at 002

(Amgen, Ltr. To Shareholders & 2022 10-K). The company earned $26.3 billion in total revenue

in 2022. PX0009 at 002. Nine of Amgen’s drugs generated more than $1 billion in annual net sales
                                                 6
         Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 12 of 42 PageID #:4456




    each (i.e., inclusive of rebates and discounts), 1 with one product—Enbrel—comprising nearly 20%

       of total sales in 2021. See PX0009 at 077. Amgen’s R&D efforts are focused primarily on three

       therapeutic areas: inflammation, oncology/hematology, and cardiovascular and metabolic

       diseases. PX0009 at 074.

III.       Horizon’s Drug Monopolies

               Amgen is pursuing the Proposed Merger primarily for the projected profits of Horizon’s

       products Tepezza and Krystexxa, which generated approximately $1.96 billion and $716 million

       in 2022 revenue, respectively. PX0002 at 008 (Horizon 2022 10-K). Tepezza treats Thyroid Eye

       Disease (“TED”), a rare autoimmune disease affecting over 60,000 Americans that, left untreated,

       can cause

                                                                                                Krystexxa treats

       Chronic Refractory Gout (“CRG”), a severe form of gout that affects patients whose symptoms

    are not sufficiently treated with therapies indicated to treat traditional gout. See PX0002 at 010

       (Horizon 2022 10-K). As Amgen and Horizon acknowledge, Tepezza and Krystexxa are currently

       monopolies, facing no competition in the TED and CRG markets, respectively. Defs.’ Answer at

       2, ECF No. 77 (describing Tepezza as “the first and only FDA-approved treatment for thyroid eye

   disease (“TED”),” and Krystexxa as “the first and only FDA-approved treatment for chronic

   refractory gout (“CRG”).”); see also Argument I.A.1, infra. Accordingly, Horizon does not

    currently offer any rebates on these drugs because

                                                                                                    . The annual

       revenue pools associated with these drugs are projected to grow substantially, to nearly $
                                                                                                         -
    1
        These include Enbrel ($4.1 billion in 2022 worldwide sales), Prolia ($3.6 billion), Otezla ($2.3 billion),
       Xgeva ($2.0 billion), Aranesp ($1.4 billion), Nplate ($1.3 billion), Repatha ($1.3 billion), Kyprolis ($1.2
       billion), and Neulasta ($1.1 billion).
                                                            7
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 13 of 42 PageID #:4457




for Tepezza and over $
                         -        for Krystexxa, by 2031.

see also Argument I.A.1, infra (noting high cost of these drugs).

IV.    The Proposed Merger
                                                                                                     ;




       Pursuant to a Transaction Agreement dated December 11, 2022, Amgen proposes to

acquire Horizon in a transaction valued at approximately $27.8 billion. On June 2, 2023, the parties

stipulated to, and the Court entered, an order reflecting Defendants’ agreement not to consummate

the Proposed Merger until the earlier of (i) October 31, 2023, or (ii) two business days after a

ruling by this Court on the FTC’s motion for a preliminary injunction. Stipulated Order at 2, ECF

No. 60. On June 22, 2023, the Commission voted to file an administrative complaint alleging that

the Proposed Merger would harm competition in the United States. The Commission also

authorized staff to seek a preliminary injunction under Section 13(b) of the FTC Act, enjoining the

Proposed Merger pending resolution of the administrative complaint. The administrative

proceeding is scheduled to begin on October 25, 2023.

                                           ARGUMENT

  I.   The Commission Is Likely to Succeed on the Merits

       Section 7 of the Clayton Act bars mergers “the effect of [which] may be substantially to

lessen competition, or to tend to create a monopoly” in “any line of commerce or . . . activity

affecting commerce in any section of the country.” 15 U.S.C. § 18. The Supreme Court explains

that all mergers “must be tested by the same standard, whether they are classified as horizontal,

vertical, conglomerate, or other.” FTC v. Procter & Gamble Co., 386 U.S. 568, 577 (1967).

“Congress used the words ‘may be substantially to lessen competition’ to indicate that its concern

was with probabilities, not certainties.” OSF Healthcare Sys., 852 F. Supp. 2d at 1073 (quoting

Brown Shoe Co. v. United States, 370 U.S. 294, 323 (1962) (emphasis added)); see also Elders

Grain, 868 F.2d at 906. Thus, “[a]ll that is necessary is that the merger create an appreciable danger

                                                  8
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 14 of 42 PageID #:4458




of [anticompetitive] consequences in the future.” FTC v. Advoc. Health Care Network, 841 F.3d

460, 467 (7th Cir. 2016) (quoting Hosp. Corp. of Am. v. FTC, 807 F.2d 1381, 1389 (7th Cir. 1986)).

       A merger violates Section 7 if post-merger the merged firm would possess the ability and

incentive to weaken or disadvantage current or future rivals, and the merger increases the merged

firm’s ability and/or incentive. See United States v. AT&T, Inc., 916 F.3d 1029, 1033-38 (D.C.

Cir. 2019) (affirming case analyzed under ability and incentive framework); In re Illumina, Inc.,

FTC Docket No. 9401, at 41 (Mar. 31, 2023). A related, but distinct, framework applied by the

Supreme Court is to examine whether it is reasonably probable that the merger will entrench or

extend the dominant position of the acquisition target by increasing entry barriers or switching

costs, dissuading rivals from competing aggressively, or eliminating a nascent competitive threat.

See Procter & Gamble, 386 U.S. at 578; United States v. Wilson Sporting Goods Co., 288 F.

Supp. 543, 550-56 (N.D. Ill. 1968).

       At this juncture, under either test, Plaintiffs meet their burden if they “raise substantial

doubts about the transaction,” and need not show “detailed evidence of anticompetitive effect at

this preliminary phase.” Advoc. Health Care, 2017 WL 1022015, at *2 (quoting OSF Healthcare

Sys., 852 F. Supp. 2d at 1074); see also Warner Commc’ns, 742 F.2d at 1162; Heinz, 246 F.3d at

714-15. Because the issue is a “narrow one,” the Court at this stage “do[es] not resolve the conflicts

in the evidence, compare concentration ratios and effects on competition in other cases, or

undertake an extensive analysis of the antitrust issues.” Warner Commc’ns, 742 F.2d at 1164; see

also OSF Healthcare, 852 F. Supp. 2d at 1073-74. It is not until the administrative proceeding,

which will provide a forum for all parties to present plenary evidence regarding the likely effects

of the merger with up to 210 hours of live testimony, 16 CFR § 3.4, that the FTC will exercise its




                                                  9
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 15 of 42 PageID #:4459




congressionally vested authority to determine, upon a full evidentiary record, the merger’s legality.

Heinz, 246 F.3d at 713-14; FTC v. CCC Holdings, Inc., 605 F. Supp. 2d 26, 35 (D.D.C. 2009).

           A. The Proposed Merger May Substantially Lessen Competition or Tend to
              Create a Monopoly in the TED and CRG Markets

        Although Tepezza and Krystexxa are currently monopolies, and the revenue pools

associated with these drugs are projected to grow substantially in future years, the profitability of

these drugs, and thus the Proposed Merger, could be threatened by rivals’ products that are in late-

stage development. Unlike Horizon, Amgen has a broad portfolio of blockbuster drugs that it can

leverage to gain anticompetitive advantages over soon-to-be rivals. In particular, Amgen often

uses cross-market bundling, which involves conditioning rebates on one of its blockbuster products

in exchange for preferred formulary placements for one of Amgen’s other products. In other words,

Amgen pays PBMs, health plans, and plan sponsors—through rebates on its blockbuster

products—to favor its less competitive drugs over a rival’s potentially cheaper or better competing

product. By combining Amgen’s portfolio of blockbuster drugs and contracting leverage with

Horizon’s highly lucrative products, the deal would give the merged firm the ability and incentive

to raise barriers to new entry and thereby entrench Tepezza’s and Krystexxa’s monopolies,

depriving patients, providers, and health plans of the benefits of competition and access to new

options for treating TED and CRG.

               1. The Relevant Product Markets Are the Sale of FDA-Approved Drugs to
                  Treat TED and CRG

       The relevant product market is the “line of commerce” affected by a Proposed Merger.

Brown Shoe, 370 U.S. at 324. To determine the validity of a relevant antitrust market definition,

courts generally look to two types of evidence: the “practical indicia” set forth by the Supreme

Court in Brown Shoe and testimony from experts in the field of economics regarding the

Hypothetical Monopolist Test (“HMT”). Courts evaluate “practical indicia” such as “(1) the

                                                 10
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 16 of 42 PageID #:4460




industry or public recognition of the submarket as a separate economic entity, (2) the product’s

peculiar characteristics and uses, (3) unique production facilities, (4) distinct customers, (5)

distinct prices, (6) sensitivity to price changes, and (7) specialized vendors.” Beatrice Foods Co.

v. FTC, 540 F.2d 303, 308 (7th Cir. 1976) (citing Brown Shoe, 370 U.S. at 325). Courts and the

Commission may, alternatively or in addition, use the HMT to assess the relevant product market.

See Advoc. Health Care Network, 841 F.3d at 468-69 (applying the HMT to define a relevant

geographic market); see also FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 338 (3d Cir.

2016); FTC v. Hackensack Meridian Health, Inc., 30 F.4th 160, 167 (3d Cir. 2022). The practical

indicia, as well as analysis performed by Plaintiff’s economic expert Dr. David Sibley, including

an HMT, show that the relevant product markets here are (1) for Tepezza, the sale of FDA-

approved drugs to treat TED (“TED market”), and (2) for Krystexxa, the sale of FDA-approved

drugs to treat CRG (“CRG market”). In similar scenarios, courts have routinely defined the

relevant market as prescription drug treatments for a specific disease or condition. FTC v. Shkreli,

581 F. Supp. 3d 579, 630 (S.D.N.Y. 2022); In re Suboxone (Buprenorphine Hydrochloride &

Naloxone) Antitrust Litig., No. 13-MD-2445, 2017 WL 4910673, at *15 (E.D. Pa. Oct. 30, 2017).

                       a. The Sale of FDA-Approved Drugs to Treat TED is a Relevant
                          Product Market

       Tepezza is the “[f]irst and only FDA approved treatment for TED.” PX3029 at 005

(Horizon presentation). Tepezza has been designated an “orphan drug” by the FDA, which reflects

a determination that there are no reasonably interchangeable substitutes for Tepezza for the

treatment of TED, and that before Tepezza’s approval, no adequate drug to treat TED had been

developed. See PX0010 (FDA News Release, Jan. 2020); Orphan Drug Act of 1983, Pub. L. No.

97-414, 96 Stat. 2049; see also PX9000 (Kesselheim Report) ¶ 22. The primary other treatments

physicians may use to try to treat “disruptive or disabling” TED include the off-label use of steroids


                                                 11
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 17 of 42 PageID #:4461




or immunosuppressive agents such as rituximab, orbital radiation therapy, and surgery. PX9003,

Expert Report of Dr. Kimberly P. Cockerham (July 7, 2023) (“Cockerham Report”) ¶ 46.

However, as Defendants’ ordinary course documents recognize, these treatments are not

reasonable substitutes for Tepezza. For example, one Horizon document highlights that Tepezza

is different from other TED treatments because it




-   Tepezza’s safety and efficacy likewise differentiate it from non-drug treatments.
                                                                                        -
       Physicians who treat TED confirm that they prescribe Tepezza (if covered by insurance)

instead of steroids or surgery because Tepezza is “more efficacious” at curtailing inflammation

than both steroids and surgery and is also less invasive and less risky than surgery. PX7012 ¶ 2

(Tamhankar, Decl.). Similarly, Dr. Cockerham, an expert in treating TED, explained that Tepezza

“is the only FDA approved treatment indicated for the treatment of TED. Although there are other

treatments currently used to reduce some of the inflammation caused by TED, these treatments do

not address the autoimmune response that is the root of, and which causes the various symptoms,

associated with TED.” PX9003 (Cockerham Report) ¶ 45.




                                              12
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 18 of 42 PageID #:4462




       Tepezza also has distinct customers and pricing. Horizon’s Executive Director, Access

Strategy & Marketing, testified that steroids are

                                                            Tepezza’s pricing is likewise distinct

from other treatments for TED. Compare

                                                                  ; PX9003 (Cockerham Report)

¶ 13 (“TEPEZZA’s cost is at least $350,000 for eight infusions.”), with Shreya Ashish Shah et al.,

Comparison of treatment cost and quality-of-life impact of thyroid eye disease therapies, 63

INVESTIGATIVE OPHTHALMOLOGY & VISUAL SCI. 4002 (2022) (estimating average price for

treating TED with intravenous methylprednisolone at approximately $4,000 and orbital

radiotherapy at approximately $4,300).

       Voluminous documents and testimony confirm that Defendants and industry participants

consider Tepezza to be the only drug that is approved to treat TED. Amgen’s own ordinary course

documents that analyze the




                                                               Horizon, in its 2022 10-K, admits

that Tepezza “does not face direct competition.” PX0002 at 010. These factors confirm that the

sale of FDA-approved drugs to treat TED is the relevant market for Tepezza as there are no other

reasonably interchangeable substitutes. Relying on the testimony of Dr. Cockerham, an expert in

the treatment of TED, Dr. David Sibley, Plaintiff’s economic expert, similarly concluded that the

sale of FDA-approved drugs to treat TED is a relevant product market because “there are currently




                                                    13
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 19 of 42 PageID #:4463




no alternative treatments that are reasonably interchangeable” for Tepezza. PX9001, Expert Report

of David Sibley, Ph.D. (July 7, 2023) (“Sibley Report”) ¶ 92; see also PX9001 § 3.1b.i.

       Alternatively or in addition to these practical indicia, courts often consider the HMT, which

asks whether a hypothetical firm that controls the entire candidate product market could “raise

prices profitably a bit above competitive levels,” also referred to as a small but significant non-

transitory increase in price (“SSNIP”). Advoc. Health Care Network, 841 F.3d at 465 (quoting

U.S. Dep’t of Justice & FTC, Horizontal Merger Guidelines (2010) § 4.1.1 (“Horizontal Merger

Guidelines”)). As Dr. Sibley and the Commission have recognized, a traditional SSNIP test may

not be applicable where a party already has monopoly power in a market or incomplete data exists.

See PX9001 (Sibley Report) ¶¶ 76, 79, 93, 114; see also In re Illumina, Inc., FTC Docket No.

9401, at 29 n.15 (noting that “markets can be delineated using other evidence when the HMT

cannot be run,” particularly in markets where competing products have not yet been

commercialized). As the Commission explained, “[t]he ultimate goal is to determine whether a

merger may substantially lessen competition, Horizontal Merger Guidelines § 4.1.3, and the

Commission uses the data and tools that are available for that inquiry.” In re Illumina, Inc., FTC

Docket No. 9401, at 29 n.15. Here, to perform the SSNIP test, Dr. Sibley considered whether

“current prices [for monopolist Tepezza are] higher than the prices that we would expect following

entry (the prices we expect absent the transaction),” and determined they are, providing another

basis on which conclude that the sale of FDA-approved treatments for TED is a relevant antitrust

market. PX9001 (Sibley Report) ¶¶ 93-98.

                      b. The Sale of FDA-Approved Drugs to Treat CRG is a Relevant
                         Product Market

       Krystexxa is “the first and only FDA-approved treatment for” CRG, and, like Tepezza,

received orphan drug designation from the FDA. Defs.’ Answer, ECF No. 77 at 2, 23. Krystexxa


                                                14
    Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 20 of 42 PageID #:4464




has biosimilar exclusivity until
                                   -   and patent exclusivity until
                                                                      -   .2

                                   Although other treatments exist for conventional gout, they are

not functional substitutes for Krystexxa, which is prescribed to patients who have not seen results

from conventional gout treatments.                                                              In

addition to the distinct patient base and lack of reasonable substitutes, the cost of Krystexxa is

significantly higher than the standard treatments available for gout.




         Dr. Herbert S. B. Baraf, an expert in the treatment of CRG, explained that CRG patients

are those that have not responded to traditional therapies, such as uric acid lowering drugs, and

that these traditional therapies “do not directly treat gout flares.” PX9002, Expert Report of Dr.

Herbert S. B. Baraf (July 7, 2023) (“Baraf Report”) ¶¶ 33-34. Based on economic theory and the

expert opinion of Dr. Baraf, Plaintiff’s economic expert Dr. Sibley similarly concluded that the

sale of FDA-approved treatments for CRG, currently including only Krystexxa (pegloticase), is a

relevant product market because there are currently no reasonably interchangeable substitutes for

Krystexxa, and because current prices are “higher than the prices that we would expect following




2
    Krystexxa

•                                                15
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 21 of 42 PageID #:4465




entry (the prices we expect absent the transaction).” PX9001 (Sibley Report) ¶ 113; § 3.1.c.

Accordingly, the sale of FDA-approved drugs to treat CRG is a relevant product market.

               2. The United States Is the Relevant Geographic Market

       The relevant geographic market is the area where a potential buyer “can practicably turn”

for the goods or services sought. Advoc. Health Care, 2017 WL 1022015, at *3. The geographic

market “must correspond to the commercial realities of the industry.” Advoc. Health Care, 841

F.3d at 468 (quoting Brown Shoe, 370 U.S. at 336) (internal quotation marks omitted). Here, the

relevant geographic market is the United States. Drugs to treat TED and CRG are regulated and

approved by the FDA.

                                        Accordingly, products sold outside the United States, but

not approved for sale in the United States, do not provide viable alternatives for customers. The

Brown Shoe practical indicia also support the conclusion that the United States is the relevant

geographic market. For example, Defendants’ internal documents and testimony discuss different

approval processes and business development strategies for Tepezza and Krystexxa in the United

States and in other countries, indicating that Defendants recognize the United States as a distinct

geographic market.

                                                     Dr. Sibley similarly concluded that the relevant

geographic market is the United States. PX9001 (Sibley Report) § 3.2.

               3. There is a Reasonable Probability the Proposed Merger Will
                  Substantially Lessen Competition or Tend to Create a Monopoly

       Under both the ability and incentive framework and entrenchment framework, the evidence

justifies the requested temporary relief. Under either framework, the evidence “raises substantial

doubts” regarding whether the Proposed Merger creates a reasonable probability of substantially




                                                16
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 22 of 42 PageID #:4466




lessening competition or tending to create a monopoly in the relevant markets. See Advoc. Health

Care, 2017 WL 1022015, at *2.

                       a. Amgen Will Have the Ability and Incentive to Foreclose TED and
                          CRG Rivals Post-Merger

       A merger violates Section 7 if post-merger the merged firm would possess both the ability

and incentive to weaken or disadvantage current or future rivals and the transaction is likely to

increase the ability and/or incentive of the merged firm to weaken its rivals. See In re Illumina,

Inc., FTC Docket No. 9401, at 41; see also, e.g., id. at 47-49; United States v. AT&T, Inc., 310 F.

Supp. 3d 161, 243-46 (D.D.C. 2018) (analyzing whether AT&T had the ability and incentive to

foreclose or restrict rival video programming distributors). Post-merger, the merged firm will

combine Amgen’s portfolio of blockbuster drugs and Horizon’s monopoly positions with Tepezza

and Krystexxa. With those monopoly positions threatened by rival drugs in development, the

Proposed Merger will provide the combined firm with a strong incentive to protect Tepezza’s and

Krystexxa’s market dominance and the ability to do so by leveraging the merged firm’s large

portfolio of blockbuster drugs.

                               i. Ability to Leverage Its Drug Portfolio

       Amgen’s diverse portfolio of products—with nine different drugs generating more than $1

billion in annual net sales each—may increase the merged firm’s ability to maintain monopolies

for Tepezza and Krystexxa. The most likely tactic Amgen could employ to maintain these

monopolies is leveraging its broad portfolio of products to secure preferred access for Tepezza and

Krystexxa without competing on the merits of the drugs.

       Amgen commonly refers to the bargaining leverage it possesses based on its diverse

portfolio as its “portfolio leverage,” and it has relied on “portfolio contracting” or “cross-market

bundling” to distort how PBMs and payers make decisions about which drugs to make available


                                                17
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 23 of 42 PageID #:4467




to patients. In other words, Amgen conditions valuable rebates on one or more products in

exchange for preferred access for its other products at the expense of rivals’ drugs.
                                                                                         -
               An email from Amgen’s Executive Director/General Manager, National Accounts

explained the strategy as an                         which included

                                                         and



       Amgen’s ordinary course documents explain the effectiveness of its portfolio leverage over

payers and PBMs. In one email, Amgen’s Executive Director, Inflammation Payer Contracting

and Pricing requested that a colleague




       Since at least 2020, Amgen has entered                  separate contracts for multi-product

drug bundles with multiple payers and the




                                                18
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 24 of 42 PageID #:4468




-      Many of these bundle contracts use

leverage.
                                             -     one of Amgen’s most successful products, as



                                                                                         In fact,

in the context of previous acquisitions, such as Amgen’s 2022 acquisition of ChemoCentryx,

Amgen analyzed how it could




       One cross-market bundle which Amgen negotiated with




-            Amgen’s conduct in this instance prompted a private lawsuit alleging distinct, but

similar, violations of the antitrust laws.



                                                            Regeneron filed a May 2022 federal

complaint alleging that such bundling was an anticompetitive means to foreclose its product from

competing with Amgen’s Repatha. Compl. at ¶¶ 8, 19, Regeneron Pharms., Inc. v. Amgen Inc.,



                                              19
  Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 25 of 42 PageID #:4469




1:22-cv-00697-UNA (D. Del. May 27, 2022). The federal court overseeing that lawsuit concluded

that Regeneron had plausibly stated a claim, denying Amgen’s motion to dismiss. Regeneron

Pharms., Inc. v. Amgen Inc., No. 22-697-RGA, 2023 WL 2587809 (D. Del. Mar. 21, 2023). Post-

merger, Amgen will be able to employ the same tactic to maintain exclusivity for Tepezza and

Krystexxa. And while payers and PBMs may enjoy the financial benefit of a rebate on
                                                                                         -
patients who rely on Tepezza and Krystexxa will not benefit from that rebate and will be left with

an entrenched monopolist controlling the drugs they so desperately need.
                                                                                                    the




        Payers dislike bundles because




               With Amgen, however, it may be particularly difficult for payers to resist cross-

market bundles because blockbuster drugs like
                                                    -        are among the most highly rebated drugs

and most predictable and consistent sources of revenue for payers and PBMs. Amgen’s Vice

President of Global Commercial Integration estimated that the company pays

dollars in
             -     rebates each year to payers.

Internal Amgen documents show that              rebates paid to                   alone totaled $
                                                                                                ■
-      in one year.



                                                         This degree of rebating, and Amgen’s large

portfolio,                            and provide Amgen with significant leverage in negotiating

formulary coverage for the rest of its portfolio.




                                                    20
  Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 26 of 42 PageID #:4470




                                                     And even if smaller, rival manufacturers could

offer similar dollar amounts of rebates, rebates on drugs such as
                                                                    -     provide other incentives

to payers including predictability, guarantees, and payment timing that are difficult to match. See,

e.g.,                                                PX9000 (Kesselheim Report) ¶ 154.

        Amgen’s historic practice of bundling is instructive about how it may behave after

acquiring Horizon’s highly lucrative products. It also reveals the tendency of the industry to be

vulnerable to the types of bundles that the merged firm would have the ability and incentive to

implement. Emerging market dynamics make bundling even more likely here, as vertical

integration of health plans and PBMs will further facilitate bundling of rebates for products such

as Tepezza and Krystexxa.




        Plaintiff’s expert Dr. Kesselheim explained that Amgen’s “documents indicate that Amgen

believes [cross-benefit bundles] are feasible” and that “Amgen’s contemplation of these so-called

cross-benefit bundles appears to be motivated in part by incoming competition or the loss of

exclusivity for its current products.” PX9000 (Kesselheim Report) ¶ 175; see also PX9000 ¶¶ 176-

82. Multiple payers agreed that Amgen could bundle in response to future competitive threats.
                                                                                                ■


                                                21
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 27 of 42 PageID #:4471




■
■
                              ii. Incentive to Protect Its Monopolies

       Post-Acquisition, Amgen will be incentivized to leverage its portfolio to bias decisions

about drug coverage to protect the value of its newly acquired monopoly products. Amgen’s

ordinary course documents analyzing the Proposed Merger highlight that Amgen’s valuation of

the deal is




       In particular, Amgen’s vice president and head of commercial integration for Horizon

wrote in an internal message that



Documents from both Defendants and other market participants project that the total addressable

market for TED is approximately



       Multiple rivals are developing competitors to Tepezza, threatening this massive profit pool.

Horizon recognizes that the

                                                                                               and

numerous Horizon documents




                                               22
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 28 of 42 PageID #:4472




       Amgen similarly identified these same firms as future Tepezza competitors.



showed that
                                                                                      -
                                      For example, an Amgen competitive intelligence document




                                                     Amgen is particularly focused on Viridian,

noting it is expected to launch in



                                                                         One Amgen executive

responsible for competitive intelligence remarked:




                                                                          The threat of entry by

these companies is not mere speculation—just months before the Proposed Merger, Horizon

estimated the probability that Viridian (VRD-001) and Immunovant would achieve technical

regulatory success as

Separately, Amgen’s vice president and the head of the global commercial integration for Horizon

Therapeutics estimated that Viridian had a
                                             -   likelihood of entry.



       Krystexxa’s dominant position in the CRG market may also soon be challenged, as Selecta

Bio’s SEL-212 could enter the market as soon as



-             Both Horizon and Amgen ordinary course documents, as well as testimony from a



                                              23
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 29 of 42 PageID #:4473




Horizon executive, confom Selecta is developing a competitive product.

                                                                Horizon expects that once SEL-

212 is approved, it would




       Party executives have acknowledged that this competitive ent:Iy could lead to competition

on the merits, with payers leveraging drngs off one another to secure lower prices. -




                        This scenario is not unlikely, as



                                                                                          Other

Horizon documents recognize that




                                               24
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 30 of 42 PageID #:4474




       Not only do Defendants’ documents recognize looming competition for Tepezza and

Krystexxa, but the deal documents specifically analyze the financial benefit of any delay from

Tepezza’s rivals. For instance, a May 2022 Amgen Business Development plan outlined several

                                       to acquiring Horizon’s Tepezza.

             One value upside focused on a

                                                                     In November 2022, a separate

Business Development plan modeled both a                     and a                of the Proposed

Merger.                                           According to the                model, there are

several “key sensitivities” impacting valuation, including




       Thus, the merged firm will have an incentive to leverage Amgen’s blockbuster drugs to

defend the monopoly share of the Tepezza and Krystexxa markets and profit pools that Amgen,

acting independently prior to the merger, does not. Like in In re Illumina Inc., FTC Docket No.

9401, at 49-59, post-merger Amgen’s economic motivations will change with respect to the

acquired firm’s markets. Further, because the acquired firm’s competitors pose a threat, the

acquiring firm will develop a strong incentive to pursue a strategy to weaken rivals. Id. at 47-52.

Indeed, just three days after the Proposed Merger was announced, Amgen’s SVP of Finance

emailed Amgen’s EVP and CFO:

                                                                                        —the very




                                                25
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 31 of 42 PageID #:4475




drug which Amgen has previously sought to protect through the use of a cross-market bundle.



                                               ***

       If the Proposed Merger is permitted to proceed, a combined Amgen/Horizon will possess

the ability and incentive to entrench Tepezza’s and Krystexxa’s monopoly positions, thus causing

rival drug treatments to be weakened or disadvantaged. This substantial lessening of competition

in the markets for the sale of FDA-approved TED and CRG treatments is likely to result in

decreased patient choice and/or access to competitive alternatives to Tepezza and Krystexxa—

even where a competing drug might be clinically preferred—as well as higher prices than would

exist but for the Proposed Merger. For example, Dr. Baraf, an expert in the treatment of CRG,

explained that his ability to prescribe Krystexxa is often constrained by a patient’s health plan

coverage due to the high cost of the drug. PX9002 (Baraf Report) ¶ 57. Plaintiff’s expert Dr.

Cockerham similarly explained that although other treatments such as surgery do not treat TED’s

underlying symptoms, she will perform surgery on patients if they are unable to access the

preferred drugs through their insurance coverage. PX9003 (Cockerham Report) ¶¶ 45, 57.

                      b. The Proposed Merger Has a Reasonable Probability of Extending
                         or Entrenching Tepezza’s and Krystexxa’s Monopoly Positions

       Section 7 also prohibits acquisitions that pose a reasonable probability of substantially

entrenching the acquired company’s (i.e., the “target company’s”) dominant position in the

relevant market. In Procter & Gamble, the Supreme Court held that the “substitution of the

powerful acquiring firm for the smaller, but already dominant, firm may substantially reduce the

competitive structure of the industry by raising entry barriers and by dissuading the smaller firms

from aggressively competing.” 386 U.S. at 578. Courts have identified several factors to determine

whether an acquisition may entrench the dominant firm: (1) the structure of the relevant market,


                                                26
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 32 of 42 PageID #:4476




including concentration and barriers to entry; (2) the target firm’s dominance in the relevant

market; (3) whether the acquisition would create substantial competitive disparities in the relevant

market; and (4) whether the acquisition would increase barriers to entering the relevant market or

dissuade competition generally. See, e.g., id. at 578, 579; General Foods Corp. v. FTC, 386 F.2d

936, 945-46 (3d Cir. 1967); Wilson Sporting Goods Co., 288 F. Supp. at 550-56.

       The Proposed Merger will entrench monopoly positions in Tepezza and Krystexxa

because the merged firm will have the ability to prevent entry by leveraging Amgen’s portfolio

to secure preferential formulary placement. Each factor listed above militates in favor of

preliminarily enjoining the Proposed Merger. First, the relevant markets are highly concentrated,

with Tepezza and Krystexxa each accounting for 100% of their respective markets. By

comparison, in Procter & Gamble, the Court emphasized that the relevant market was

characterized by six firms that together held nearly 80% of the market. 386 U.S. at 571; see also

Allis-Chalmers Mfg. Co. v. White Consol. Indus., Inc., 414 F.2d 506, 517, 518 (3d Cir. 1969)

(four firms held 80% of market, with the target holding 20%; court held, “[t]he potential

entrenchment of the market power of a merged [firm] . . . is an example of ‘product extension’

consequences which may be anticompetitive and violative of § 7”); cf. United States v. General

Dynamics Corp., 415 U.S. 486, 497 (1974) (quoting United States v. Aluminum Co. of Am., 377

U.S. 271, 279 (1964)) (“[I]f concentration is already great, the importance of . . . preserving the

possibility of eventual deconcentration is correspondingly great.”).

       Second, high entry barriers exist in both markets due to lengthy drug development

timelines and FDA approval requirements. Further, the target firm, Horizon, holds monopoly

positions in both relevant markets. See, e.g., Ekco Products Co. v. FTC, 347 F.2d 745, 751 (7th

Cir. 1965) (“The fact that a large corporation purchases a corporation with a virtual monopoly in



                                                27
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 33 of 42 PageID #:4477




its field . . . may subject the merger to careful scrutiny to determine if additional facts exist from

which a violation may be found.”).

       Third, the Proposed Merger would create substantial competitive disparities between the

merged firm and Horizon’s competitors. Currently, Horizon has only three prominent on-market

drugs focused on small patient populations with rare diseases. The merged firm, however, would

have Amgen’s large portfolio of blockbuster drugs, which Tepezza and Krystexxa’s soon-to-be

competitors lack, allowing the merged firm to leverage its portfolio to entrench its monopoly

positions. See, e.g., General Foods, 386 F.2d at 945; Ekco Products, 347 F.2d at 747.

       Fourth, the Proposed Merger would increase the already high barriers to entering the

relevant market. Post-merger, Amgen could leverage its portfolio to promote sales of Horizon’s

drugs. And as established, it will have the ability and incentive to thereby entrench Tepezza’s and

Krystexxa’s market positions. See Allis-Chalmers Mfg., 414 F.2d at 518. As a result, any

manufacturer developing a rival drug to Tepezza or Krystexxa would need a similar portfolio of

highly utilized and rebated blockbuster drugs to compete for payer coverage in the TED and CRG

markets. See id. When, as here, a merger bestows increased power to secure preferential treatment

from input suppliers or distributors, this factor weighs especially heavily against the merger. See,

e.g., FTC v. Consol. Foods Corp., 380 U.S. 592, 597 (1965); Procter & Gamble Co., 63 F.T.C.

1465, 1565 (1963), aff’d, 386 U.S. 568 (1967). This dynamic is especially concerning here, where

entrants may provide not only price competition, but also alternative and potentially superior

treatments for patients.

       In sum, by expanding the Horizon portfolio—which is dominant but narrow—with

Amgen’s broad and powerful drug portfolio, the Proposed Merger may “raise[] barriers to new

entry,” and may dissuade smaller firms “from aggressively competing with the newly formed,



                                                  28
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 34 of 42 PageID #:4478




giant competitor,” thereby entrenching and extending Tepezza’s and Krystexxa’s monopolies.

United States v. First Nat’l State Bancorp., 499 F. Supp 793, 816 (D.N.J. 1980) (citing Procter &

Gamble, 386 U.S. at 577-79; cf. Wilson Sporting Goods, 288 F. Supp. at 556 (“[C]ompetition in

the industry will be lessened because of the adverse psychological effects the merger will engender

among . . . smaller rivals, and upon potential new entrants into the market.”). The effect of this

Proposed Merger “may be substantially to lessen competition, or to tend to create a monopoly”

and it is precisely the type of situation that requires curtailing anticompetitive harm in its

incipiency. Chicago Bridge & Iron Co. NV v. FTC, 534 F.3d 410, 422-23 (5th Cir. 2008) (citing

United States v. Philadelphia Nat’l Bank, 374 U.S. 321, 355 (1963)); Fruehauf Corp. v. FTC, 603

F.2d 345, 351 (2d Cir. 1979) (Congress wished to “nip anticompetitive practices in the bud.”).

           B. Defendants Cannot Rebut the Strong Prima Facie Case

       Defendants’ likely rebuttal arguments do not hold up to scrutiny. Particularly at this stage,

where the court faces only the narrow issue of preliminary relief and does “not resolve the conflicts

in the evidence, compare concentration ratios and effects on competition in other cases, or

undertake an extensive analysis of the antitrust issues,” OSF Healthcare Sys., 852 F. Supp. 2d at

1082 (quoting Warner Commc’ns., 742 F. 2d at 1165, Defendants’ speculative claims do not justify

denying the temporary relief the Plaintiffs seek.

       Defendants may claim that it would be logistically difficult for Amgen to implement a

cross-market bundle involving Tepezza or Krystexxa because those drugs are currently covered

under payers’ medical benefits, whereas Amgen’s most successful products are covered under

payers’ pharmacy benefits. Defs.’ Answer at 4, ECF No. 77. However, internal Horizon documents

indicate that some payers already cover Horizon’s drugs under the pharmacy benefit.
                                                                                         -
                                                 29
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 35 of 42 PageID #:4479




                                         PX9001 (Sibley Report) ¶ 158. Horizon’s Executive

Director of Market Access Reimbursement Strategy acknowledged that prescribers
                                                                                     -
                                        Horizon’s documents also show that self-administered

Krystexxa would

                                                   Self-administered Tepezza likewise may be

covered under payers’ pharmacy benefits as early as



       Moreover, even if Tepezza or Krystexxa continue to be covered under the medical benefit,

cross-benefit bundling—where a manufacturer implements a bundle that includes drugs managed

by a health plan’s medical benefit with drugs managed by its pharmacy benefit—is feasible and

growing.




                                                                                   An internal

Amgen document from February 2023 likewise lists cross-benefit management as a
                                                                                 -          for




                                              30
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 36 of 42 PageID #:4480




                                                                                  Amgen will have

billions of dollars in financial incentives to find a way to protect its new acquisitions, including

through cross-benefit bundling.

       To the extent Defendants claim that discounting and formulary positioning do not drive

utilization for drugs like Tepezza and Krystexxa, see Defs.’ Answer at 4-5, ECF No. 77, they do

so only by disregarding the real-world dynamics of how patients obtain drug treatments through

their insurance. It is inconceivable that a health plan’s coverage of Tepezza and Krystexxa would

not affect utilization and access to these drugs, which cost hundreds of thousands of dollars per

treatment. Dr. Cockerham, an expert in the treatment of TED, explained that “many of [her]

patients still struggle to obtain affordable access to” Tepezza, and that affordable access is often

dependent on the type of insurance the patient has. PX9003 (Cockerham Report) ¶¶ 39-40. Dr.

Baraf, an expert in the treatment of CRG, similarly acknowledged that his “ability to prescribe and

administer Krystexxa to patients with CRG is often influenced by insurance coverage and

utilization management tools health plans have in place.” PX9002 (Baraf Report) ¶ 57.

Defendants’ own documents acknowledge this reality. In one Horizon presentation, market

research on




                                                31
     Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 37 of 42 PageID #:4481




         Defendants may also claim that they would not use cross-benefit bundles to protect

Tepezza or Krystexxa because rebates applied to medical benefit products would lead to a gradual

lowering of drug prices through what Defendants have described as the Average Sales Price

(“ASP”) “Death Spiral.” See Defs.’ Answer at 5, ECF No. 77. But this is hardly a foregone

conclusion. Numerous manufacturers, including Amgen, already provide rebates for medical

benefit drugs today; the strategy is demonstrably possible.




                                                                                      Moreover, the

effect of gradually lower pricing could be avoided by, among other things, payers negotiating

different reimbursement terms with providers or implementing alternative distribution systems.

         Further, although Defendants may argue that potential post-merger efficiencies can rebut

the prima facie case, no court has held that such evidence could immunize an otherwise

anticompetitive merger. See Hershey, 838 F.3d at 348; Advoc. Health Care, 2017 WL 1022015 at

*12 (explaining an efficiencies “defense has never been sanctioned by the Supreme Court”). Even

assuming that it could, Defendants cannot meet the “rigorous standard” of showing that any of

these claimed efficiencies are “merger specific, verifiable, and . . . arise from any anticompetitive

reduction in output or service.” Hershey, 838 F.3d at 349. Amgen acknowledges that the merger

is




                                                 32
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 38 of 42 PageID #:4482




       Contrary to Defendants’ assertion, the proposed solution they “stand ready” to accept

would not “fully resolve” the Plaintiffs’ concerns. See Defs.’ Answer at 3, ECF No. 77. At the

preliminary injunction stage, “doubts are to be resolved against the transaction.” Elders Grain, 868

F.2d at 906. A bare commitment to not bundle Krystexxa or Tepezza with Amgen drugs fails to

even offer any detail that would dispute the substantial doubts raised by the Commission and

therefore fails to “‘bear the burden of showing that any proposed remedy would negate any

anticompetitive effects of the merger[.]’” In re Illumina, Inc., FTC Docket No. 9401, at 61 (quoting

FTC v. Staples, Inc., 190 F. Supp. 3d 100, 137 n.15 (D.D.C. 2016)); accord In re Otto Bock, FTC

Docket No. 9378, at 61 (Nov. 1, 2019); United States v. Aetna, Inc., 240 F. Supp. 3d 1, 60 (D.D.C.

2017) (requiring defendant to show that the proposed divestiture would replace the competitive

intensity lost as a result of the merger); Sysco, 113 F. Supp. at 72-73. Here, Defendants propose a

behavioral remedy rather than a structural remedy. But “behavioral remedies have long been

disfavored in merger cases” and the “default remedy for a Section 7 violation is a full stop

injunction of the merger . . . .” In re Illumina, FTC Docket No. 9401, at 66 (citing ProMedica

Health Sys., Inc. v. FTC, 749 F.3d 559, 573 (6th Cir. 2014) (“[O]nce a merger is found illegal, an

undoing of the acquisition is a natural remedy”) (internal quotation omitted)); see also California

v. Am. Stores Co., 495 U.S. 271, 280-81 (1990) (“[I]n Government actions divestiture is the

preferred remedy for an illegal merger or acquisition.”). In addition, “[b]ehavioral remedies

provide only temporary protection, allowing the threat inherent in the merger to persist,” In re

Illumina, FTC Docket No. 9401, at 67 (citing Steves and Sons, Inc. v. JELD-WEN, Inc. 988 F.3d

690, 720 (4th Cir. 2021)), and “usually impose greater monitoring costs than divestiture remedies.

In re Illumina, FTC Docket No. 9401, at 67 (citation omitted); Saint Alphonsus Med. Ctr.-Nampa

Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 793 (9th Cir. 2015)). Further, behavioral remedies



                                                 33
      Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 39 of 42 PageID #:4483




are disfavored in Section 7 cases because they “risk excessive government entanglement in the

market.” Saint Alphonsus., 778 F.3d at 793. Moreover, as Plaintiff’s expert economist Dr. Sibley

recognized, “[a]s compared with conduct remedies, structural remedies are relatively clean and

certain. Importantly, they avoid ongoing government entanglement in the market. Conduct

remedies suffer from a number of potentially substantial costs that structural remedies such as

divestitures can in principle avoid.” PX9001 (Sibley Report) ¶ 193.

          Consistent with courts’ skepticism of behavioral remedies, Plaintiff’s expert Dr.

Kesselheim further elucidates why Defendants’ proposed solution would not resolve the Plaintiffs’

concerns about the Proposed Merger. For example, Amgen could circumvent an outward

commitment not to bundle its products with Horizon’s by entering into “handshake” agreements

with PBMs/GPOs, or by simultaneously negotiating separate contracts for its products and

Horizon’s but offering implicit rebates on
                                             -       in exchange for a favorable formulary position

for Tepezza or Krystexxa. PX9000 (Kesselheim Report) ¶¶ 229-30. “[G]iven the implicit nature

of the agreements” in these examples, “it would be difficult, if not impossible, to monitor and

enforce Amgen’s promise[.]” PX9000 (Kesselheim Report) ¶ 231. Further, Amgen’s proposed

solution could “grow stale” as negotiations and contracts in the pharmaceutical industry evolve.

PX9000 (Kesselheim Report) ¶ 232. An order that preliminarily enjoins the Proposed Merger until

the administrative complaint can be adjudicated is therefore the appropriate relief here.

II.      The Equities Favor a Preliminary Injunction

          “No court has denied relief to the FTC in a [Section] 13(b) proceeding in which the FTC

has demonstrated a likelihood of success on the merits.” FTC v. ProMedica Health Sys., Inc., 2011

WL 1219281, at *60 (N.D. Ohio Mar. 29, 2011). “The public has strong interests in the effective

enforcement of the antitrust laws and in preserving [the Commission’s] ability to order effective

relief if it succeeds after a trial on the merits. These interests are plainly served by entering an
                                                34
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 40 of 42 PageID #:4484




injunction.” Advoc. Health Care, 2017 WL 1022015, at *16. This “was Congress’s specific ‘public

equity consideration’ in enacting” Section 13(b). FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028,

1035 (D.C. Cir. 2008) (Brown, J.) (quoting Heinz, 246 F.3d at 726); see also FTC v. Lifewatch

Inc., 176 F. Supp. 3d 757, 778 (N.D. Ill. 2016) (“[I]n balancing th[e] equities, while private

concerns may certainly be considered, public equities must receive far greater weight.”) (quoting

World Travel Vacation Brokers, 861 F.2d at 1028-29). In contrast, private equities are “subordinate

to public interests and cannot alone support the denial of preliminary relief.” FTC v. Illinois Cereal

Mills, Inc., 691 F. Supp. 1131, 1146 (N. D. Ill. 1988) (citation omitted).

       If the Court concludes that the FTC has raised the requisite “substantial doubts” going to

the merits, Advoc. Health Care, 2017 WL 1022015, at *2, then the most appropriate relief at this

stage is a preliminary injunction prohibiting Defendants from consummating their transaction

pending the FTC’s administrative merits trial. There would be significant harm to the public if the

Court were to allow the Proposed Merger to close before resolution of the administrative

complaint. Combining Defendants’ operations into a single company would reshape the

marketplace in an anticompetitive way. If Defendants are permitted to merge immediately and

begin sharing proprietary information and integrating their complex workstreams, it would be

extremely difficult, if not impossible, to unwind the damage and return to the status quo, and

Plaintiffs would be thwarted from ever obtaining full relief.

                                          CONCLUSION

       For the reasons stated above, the Plaintiffs respectfully request that the Court issue a

preliminary injunction by October 31, 2023, to prevent Defendants from closing the Proposed

Merger pending adjudication of the Commission’s administrative complaint.




                                                 35
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 41 of 42 PageID #:4485




Dated: July 7, 2023                        Respectfully submitted,


/s/ Nathan Brenner                         /s/ Malinda Lee
Nathan Brenner (IL Bar 6317564)            Malinda Lee
Stephen A. Mohr                            Sophia TonNu
Jordan S. Andrew
Jessica Weiner                             State of California
Evelyn Hopkins                             300 S. Spring Street, Suite 1702
Jacob Danziger                             Los Angeles, CA 90013
Evan R. Johnson                            Tel: 213-269-6223
Matthew Joseph                             Email: Malinda.Lee@doj.ca.gov
Betty Jean McNeil
Dylan Naegele                              Attorneys for Plaintiff State of California
R. Tyler Sanborn
Anjelica Sarmiento                         /s/ Elizabeth L. Maxeiner
Andrew Scheperle                           Elizabeth L. Maxeiner (IL Bar 6290159)
Hilla Shimshoni                            Richard S. Schultz
                                           Paul J. Harper
Federal Trade Commission
Bureau of Competition                      Office of the Illinois Attorney General
600 Pennsylvania Avenue, NW                100 W. Randolph Street
Washington, DC 20580                       Chicago, IL 60601
Tel.: 202-326-2314                         Tel: 312-814-3000
Email: nbrenner@ftc.gov                    Email: Elizabeth.Maxeiner@ilag.gov

Counsel for Plaintiff Federal Trade        Attorneys for Plaintiff State of Illinois
Commission
                                           /s/ Justin Moor
Rachel F. Sifuentes                        Justin Moor
Midwest Regional Office                    Zach Biesanz
Federal Trade Commission
230 S. Dearborn St., Room 3030             State of Minnesota
Chicago, IL 60604                          445 Minnesota Street, Suite 1400
                                           St. Paul, MN 55101
Local Counsel for Plaintiff                Tel: 651-724-9627
Federal Trade Commission                   Email: justin.moor@ago.state.mn.us

                                           Attorneys for Plaintiff State of Minnesota
 Case: 1:23-cv-03053 Document #: 106 Filed: 07/14/23 Page 42 of 42 PageID #:4486




/s/ Elinor Hoffmann
Elinor R. Hoffmann
Christopher D’Angelo

State of New York
28 Liberty Street, 20th Floor
New York, NY 10005
Tel: 212-416-8262
Email: Elinor.Hoffmann@ag.ny.gov

Attorneys for Plaintiff State of New York

/s/ Luminita Nodit
Luminita Nodit

State of Washington
800 Fifth Ave., Suite 2000
Seattle, WA 98104
Tel: 206-254-0568
Email: Lumi.Nodit@atg.wa.gov

Attorney for Plaintiff State of Washington

/s/ Gwendolyn J. Cooley
Gwendolyn J. Cooley

State of Wisconsin
Post Office Box 7857
Madison, WI 53707
Tel: 608-261-5810
Email: cooleygj@doj.state.wi.us

Attorney for Plaintiff State of Wisconsin
